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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                            CRIMINAL ACTION

VERSUS                                                              NO. 04-160
                                                                    REF: CA 07-3060

DARREN EARLYCUTT                                                    SECTION "L"


                                     ORDER & REASONS

       Before the Court is the Petitioner’s Motion to Vacate, Set Aside or Correct Sentence

Pursuant to 28 U.S.C. § 2255 (Rec. Doc. 370). For the following reasons, the Petitioner’s

motion is now DENIED.

I.     BACKGROUND

       On May 28, 2004, a federal grand jury returned a six-count Indictment as to Darren

Earlycutt (“Petitioner”) and seven co-defendants related to a cocaine hydrochloride and cocaine

base (“crack”) conspiracy. The Indictment charged the Petitioner with conspiracy to distribute,

and possess with the intent to distribute, fifty grams or more of crack and five kilograms or more

of cocaine hydrochloride, in violation of Title 21, United States Code, Sections 841(a)(1),

(b)(1)(A), and 846 (Count One), and with possession of two firearms in furtherance of a drug

trafficking offense, in violation of Title 18, United States Code, Section 924(c) (Count Five).

See Rec. Doc. 1.

       On April 8, 2005, a two-count Superseding Bill of Information was filed as to the

Petitioner. See Rec. Doc. 138. As to the Petitioner, the charges in the Superseding Bill of


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Information were the same as set forth in the original Indictment, except for the removal of the

cocaine hydrochloride object of the conspiracy.1 On April 27, 2005, pursuant to a plea

agreement, the Petitioner waived his right to be charged by an Indictment and pled guilty to both

counts of the Superseding Bill of Information. In the Factual Basis executed in connection with

the Petitioner’s plea agreement, the Government and the Petitioner agreed and stipulated that the

amount of cocaine he possessed with intent to distribute for sentencing purposes was between

150 and 500 grams of crack. See Rec. Doc. 160.

       On May 17, 2006, the Court sentenced the Petitioner to 137 months imprisonment as to

Count One and 60 months imprisonment as to Count Two, to be served consecutively, with

concurrent five-year terms of supervised release to follow as to each count. At this time, the

Court also dismissed the charges against the Petitioner contained in the original Indictment. The

Petitioner did not file a notice of appeal.

       In the plea agreement, the Petitioner agreed to waive both his right to appeal his sentence

and his right to contest his sentence in any post-conviction proceeding. See Rec. Doc. 159.

Nevertheless, on May 24, 2007, the Petitioner filed the present motion under 28 U.S.C. § 2255 to

vacate, set aside, or correct his sentence. The Petitioner raises three grounds for relief in his

motion, all relating to the firearms charge. His first claim is that his right to effective assistance

of counsel was violated by his counsel’s failure to object to the firearms charge. His second

claim is that his right to effective assistance of counsel was violated because his counsel

convinced him that he had “no choice” but to plead guilty to Count Two. His third claim is that



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        The Superseding Bill of Information also corrected an error in the description of one of
the weapons in the firearms count.

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his right to effective assistance of counsel was violated by his counsel’s failure to investigate and

interview certain witnesses.

II.      LAW & ANALYSIS

         A.     Evidentiary Hearing

         An evidentiary hearing is not required on a motion to set aside a sentence if it appears

conclusively from the record that the Petitioner is not entitled to relief. See Randle v. Scott, 43

F.3d 221, 226 (5th Cir. 1995); United States v. Plewniak, 947 F.2d 1284, 1290 (5th Cir. 1991).

Based upon a review of the entire record, it is the opinion of the Court that the motion filed by

the Petitioner can be addressed without an evidentiary hearing.

         B.     28 U.S.C. § 2255

         In United States v. Wilkes, the United States Court of Appeals for the Fifth Circuit held

that “an informed and voluntary waiver of post-conviction relief is effective to bar such relief.”

20 F.3d 651, 653 (5th Cir. 1994). The Fifth Circuit has noted, however, that ineffective

assistance of counsel claims survive a waiver if “the claimed assistance directly affected the

validity of [the] waiver or the plea itself.” United States v. White, 307 F.3d 336, 343 (5th Cir.

2002).

         The relevant portion of the plea agreement provides as follows:

                 Except as otherwise provided in this paragraph, the defendant hereby
         expressly waives the right to appeal his sentence on any ground, including but not
         limited to any appeal right conferred by Title 18, United States Code, Section 3742
         on the defendant, and the defendant further agrees not to contest his sentence in any
         post-conviction proceeding, including but not limited to a proceeding under Title 28,
         United States Code, Section 2255. The defendant, however, reserves the right to
         appeal the following: (a) any punishment imposed in excess of the statutory
         maximum, and (b) any punishment to the extent it constitutes an upward departure
         from the Guideline range deemed most applicable by the sentencing court.

See Rec. Doc. 159.
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       In this case, there is no dispute that the Petitioner’s guilty plea and accompanying waiver

of post-conviction relief were informed and voluntary. At the rearraignment proceeding, the

Court fully advised the Petitioner of the nature of the charges, the elements the government was

required to prove in order to convict him, the rights he was giving up by pleading guilty, and the

penalties he faced as a result of the charges. The Petitioner indicated to the Court that he was

voluntarily pleading guilty, and this testimony “carries a strong presumption of verity.” United

States v. Abreo, 30 F.3d 29, 31 (5th Cir. 1994).

       Moreover, it is also clear that the claimed ineffective assistance did not directly affect the

validity of the waiver itself. Rather, the Petitioner essentially argues that his counsel should

have advised against pleading guilty to the firearms charge. In the plea agreement, the Petitioner

waived his right to bring these post-conviction claims. Accordingly, IT IS ORDERED that the

Petitioner’s motion is DENIED.


       New Orleans, Louisiana, this22nd day of         October , 2007.




                                                   UNITED STATES DISTRICT JUDGE




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